EXHIBIT A
                                     Delaware                                          Page 1
                                                 The First State



         I, JEFFREY W. BULLOCK, SECRETARY OF STATE OF THE STATE OF

  DELAWARE, DO HEREBY CERTIFY THAT THE CERTIFICATE OF

  INCORPORATION OF “SHIMBLY CORPORATION”, WAS RECEIVED AND FILED

  IN THIS OFFICE THE TWENTY-SECOND DAY OF JANUARY, A.D. 2020.

         AND I DO HEREBY FURTHER CERTIFY THAT THE AFORESAID

  CORPORATION IS NO LONGER IN EXISTENCE AND GOOD STANDING UNDER

  THE LAWS OF THE STATE OF DELAWARE HAVING BECOME INOPERATIVE AND

  VOID THE FIRST DAY OF MARCH, A.D. 2022 FOR NON-PAYMENT OF

  TAXES.

         AND I DO HEREBY FURTHER CERTIFY THAT THE AFORESAID

  CORPORATION WAS SO PROCLAIMED IN ACCORDANCE WITH THE PROVISIONS

  OF GENERAL CORPORATION LAW OF THE STATE OF DELAWARE ON THE

  FIFTEENTH DAY OF JUNE, A.D. 2022 THE SAME HAVING BEEN REPORTED

  TO THE GOVERNOR AS HAVING NEGLECTED OR REFUSED TO PAY THEIR

  ANNUAL TAXES.




7812743 8400                                                                Authentication: 202843532
SR# 20240582710                                                                         Date: 02-20-24
You may verify this certificate online at corp.delaware.gov/authver.shtml
 Delaware.gov                                                                                                  Governor | General Assembly | Courts | Elected Officials | State Agencies




 Department of State: Division of Corporations
                                                                                                                                                                         Allowable Characters
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                                                                                                                        Entity Details



                                                                                                                Incorporation Date /       1/22/2020
                                                           File Number:                 7812743
                                                                                                                    Formation Date:        (mm/dd/yyyy)

                                                           Entity Name:                 SHIMBLY CORPORATION

                                                           Entity Kind:                 Corporation                       Entity Type:     General

                                                           Residency:                   Domestic                                  State:   State:

                                                                                        Void, AR’s or
                                                           Status:                      Tax                              Status Date:      3/1/2022
                                                                                        Delinquent


                                                           TAX INFORMATION
                                                           Last Annual Report Filed: 0                                  Tax Due: $ 964.02
                                                                                                                 Total Authorized
                                                           Annual Tax Assessment:        $ 250                                    9000
                                                                                                                         Shares:

                                                           REGISTERED AGENT INFORMATION


                                                           Name:                        LEGALINC CORPORATE SERVICES INC.

                                                           Address:                     651 N BROAD ST SUITE 201

                                                           City:                        MIDDLETOWN                              County:    New Castle

                                                           State:                       DE                              Postal Code:       19709

                                                           Phone:                       302-894-8922


                                                           FILING HISTORY (Last 5 Filings)
                                                                                                                               Filing Date                   Effective
                                                            Seq       Description               No. of pages                   (mm/dd/yyyy) Filing Time      Date
                                                                                                                                                             (mm/dd/yyyy)

                                                            1         Stock Corporation         1                              1/22/2020       3:51 PM       1/22/2020


                                                                                      Back to Entity Search            Email Status

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